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 7
                             UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 8
                                      AT SEATTLE
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10          UNITED STATES OF AMERICA,                    CASE NO. C12-1282JLR

11                               Plaintiff,              ORDER DIRECTING PAYMENT
                     v.                                  OF PARC’S JUNE AND AUGUST
12                                                       2020 INVOICES
            CITY OF SEATTLE,
13
                                 Defendant.
14

15          The court hereby APPROVES the Seattle Monitoring Team’s June 2020 and

16   August 2020 invoices and DIRECTS the Clerk to draw a check on the funds deposited in

17   the registry of this court in the principal amount of $46,746.51 to pay the June 2020 and

18   August 2020 invoices; to make the check payable to Merrick Bobb; and to mail the check

19   to the payee.

20          //

21          //

22          //


     ORDER - 1
            Case 2:12-cv-01282-JLR Document 650 Filed 12/11/20 Page 2 of 2




 1        Dated this 11th day of December, 2020.

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                                                   A
                                                   JAMES L. ROBART
 5                                                 United States District Judge

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     ORDER - 2
